                                 IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF IDAHO

  ADREE EDMO,                                        CIVIL ACTION FILE

                    Plaintiff,                       NO. 1:17-cv-151-BLW

  v.                                                 STIPULATION RE: DISMISSAL OF
                                                     MEDICAL DEFENDANTS AND
  IDAHO DEPARTMENT OF                                CLAIMS
  CORRECTION; HENRY ATENCIO, in his
  official capacity; JEFF ZMUDA, in his
  official capacity; AL RAMIREZ, in his
  official capacity; HOWARD KEITH
  YORDY, in his official and individual
  capacities; CORIZON, INC.; SCOTT
  ELIASON; MURRAY YOUNG; RICHARD
  CRAIG; RONA SIEGERT; CATHERINE
  WHINNERY; AND DOES 1-15;

                    Defendants.


         Plaintiff, Adree Edmo, by and through her counsel of record, Lori Rifkin of the Rifkin Law

Office, Dan Stormer and Shaleen Shanbhag of the firm Hadsell Stormer Renick & Dai, LLP, Craig

H. Durham and Deborah A. Ferguson of the firm Ferguson Durham, PLLC, and Amy Whelan and

Julie Wilensky of the National Center for Lesbian Rights; Defendants Corizon, LLC, Scott

Eliason, Murray Young and Catherine Whinnery, by and though their counsel of record, Dylan A.

Eaton of the firm Parsons Behle and Latimer; and Defendants Idaho Department of Correction,

Henry Atencio, Al Ramirez, Jeff Zmuda, Howard Keith Yordy, Richard Craig and Rona Siegert,

by and through their counsel of record, Steven R. Kraft of the firm Moore Elia & Kraft, LLP

(collectively “the Parties”), hereby agree and stipulate to the following:
STIPULATION RE: DISMISSAL OF MEDICAL DEFENDANTS AND CLAIMS - 1
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                    A.   The Parties agree that Corizon, LLC may be substituted for Corizon, Inc. in

                         this case as the proper corporate party defendant.

                    B.   Pursuant to F.R.C.P. 41(a)(1)(A)(ii), the Parties agree that any and all of

                         Plaintiff’s claims for damages relief, including but not limited to general,

                         special and punitive damages relief, against Dr. Eliason and Corizon in the

                         Third Amended Complaint (Dkt. 172) and in this case are dismissed in their

                         entirety.

                    C.   The Parties agree that Plaintiff maintains her remaining Eighth Amendment

                         claim (Third Amended Complaint, Dkt. 172, Claim 1, Failure to Provide

                         Medical Treatment (8th Amendment)) solely for purposes of pursuing

                         attorneys’ fees and costs and Defendants reserve all rights and defenses

                         thereto.

                    D.   Pursuant to Ninth Circuit Court opinions in this case, including the August

                         23, 2019 Ninth Circuit panel Opinion, the Parties agree that any and all of

                         Plaintiff’s claims, including but not limited to all damages and injunctive

                         relief claims, against Defendants Murray Young, M.D. and Catherine

                         Whinnery, M.D., are dismissed with prejudice.

                    E.   The Parties agree that all claims for damages relief asserted against any and

                         all Defendants, including in the Third Amended Complaint (Dkt. 172), are

                         dismissed and the sole remaining claim to be decided by the District Court

                         in the case is Plaintiff’s claim for attorneys’ fees and costs, including

                         attorneys’ fees on appeal, as may be allowed by applicable rules and laws.




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                    F.   The Parties request that the Court modify the time requirements of Idaho

                         L. Civ. R. 54.2(b) to permit Plaintiff to file her motion for attorneys’ fees

                         and costs, and Bill of Costs (hereinafter “motion for fees and costs”), within

                         30 days from when the Court issues its order dismissing damages claims in

                         this case, regardless of whether said motion is filed within 14 days of any

                         entry of judgment or orders of dismissal pursuant to Fed. R. Civ. P. 41(a).

                         Additionally, the Parties agree that Defendants may file their response to

                         Plaintiff’s motion for fees and costs within 30 days after said motion is filed.

                         The Parties agree that any reply brief may be filed within 21 days from when

                         Defendants file their response to Plaintiff’s motions for fees and costs.



         DATED this 23rd day of September, 2021.

                                                 PARSONS BEHLE & LATIMER


                                                 By:      /s/ Dylan A. Eaton
                                                       Dylan A. Eaton
                                                       Counsel for Defendants Corizon, LLC,
                                                       Scott Eliason, Murray Young, and
                                                       Catherine Whinnery


         DATED this 23rd day of September, 2021.

                                                 RIFKIN LAW OFFICE


                                                 By:      /s/ Lori Rifkin
                                                       Lori Rifkin
                                                       Counsel for Plaintiff




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         DATED this 23rd day of September, 2021.

                                           NATIONAL CENTER FOR LESBIAN RIGHTS


                                           By:       /s/ Amy Whelan
                                                 Amy Whelan
                                                 Julie Wilensky
                                                 Counsel for Plaintiff


         DATED this 23rd day of September, 2021.

                                           FERGUSON DURHAM, PLLC


                                           By:      /s/ Deborah A. Ferguson
                                                 Craig H. Durham
                                                 Deborah A. Ferguson
                                                 Counsel for Plaintiff


         DATED this 23rd day of September, 2021.

                                           HADSELL STORMER RENICK & DAI, LLP


                                           By:      /s/ Dan Stormer
                                                 Dan Stormer
                                                 Shaleen Shanbhag
                                                 Counsel for Plaintiff


         DATED this 23rd day of September, 2021.

                                           MOORE ELIA & KRAFT, LLP


                                           By:      /s/ Steven R. Kraft
                                                 Steven R. Kraft
                                                 Counsel for Defendants Idaho Department of
                                                 Correction, Henry Atencio, Al Ramirez, Jeff
                                                 Zmuda, Howard Keith Yordy, Richard Craig,
                                                 and Rona Siegert



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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 23rd day of September, 2021, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:


 Craig H. Durham                                 Amy Whelan
 Deborah A. Ferguson                             Julie Wilensky
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 (Counsel for Plaintiff)                         (Counsel for Plaintiff)

 Steven R. Kraft                                 Dan Stormer
 Peter R. Thomas                                 Shaleen Shanbhag
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 of Correction, Henry Atencio, Al Ramirez,       (Counsel for Plaintiff)
 Jeff Zmuda, Howard Keith Yordy, Richard
 Craig, and Rona Siegert)

 Lori E. Rifkin
 RIFKIN LAW OFFICE
 lrifkin@rifkinlawoffice.com
 (Counsel for Plaintiff)




                                             By: /s/ Dylan A. Eaton
                                                Dylan A. Eaton




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